                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             EASTERN DISTRICT



UNITED STATES OF AMERICA

           v.                           CRIMINAL INFORMATION

FRANKIE DELGADO


      The United States Attorney Charges:

                                COUNT ONE

      On or about August 5, 2009, in the Eastern District of North

Carolina, on board Marine Corps Air Station, Cherry Point, North

Carolina, a place within the special maritime and territorial

jurisdiction of the United States, FRANKIE DELGADO, the Defendant

herein, did willfully and unlawfully operate a motor vehicle upon

a highway, street, or public vehicular area, while under the

influence of an impairing substance, and with an alcohol

concentration level of .08 or greater at a relevant time after

driving, in violation of North Carolina General Statute, Section

20-138.1, as assimilated by Title 18, United States Code, Section

13.

                                COUNT TWO

      On or about August 5, 2009, in the Eastern District of North

Carolina, on board Marine Corps Air Station, Cherry Point, North

Carolina, in the special maritime and territorial jurisdiction of

the United States, FRANKIE DELGADO, the Defendant herein, did

willfully and unlawfully, speed to elude arrest, in violation of




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North Carolina General Statute 20-141.5, as assimilated by Title

18, United States Code, Section 13.

                             COUNT THREE

     On or about August 5, 2009, in the Eastern District of North

Carolina, on board Marine Corps Air Station, Cherry Point, North

Carolina, in the special maritime and territorial jurisdiction of

the United States, FRANKIE DELGADO, the Defendant herein, did

willfully and unlawfully, exceed the posted speed limit, in

violation of N.C.G.S. 141(b) (1), as adopted by 32 CFR 210.



                                 GEORGE E. B. HOLDING
                                 United States Attorney


                                 By,~t!d$
                                 ERIC A. CATTO
                                 Special Assistant U.S. Attorney
                                 Criminal Division




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